       Case 1:24-cr-10259-DJC       Document 41      Filed 06/23/25    Page 1 of 2




                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                        :

      VS.                                            Docket No.: 24-cr-10259-DJC

MATTHEW FARWELL                     :
__________________________________________________________________

                           NOTICE OF APPEARANCE

      Assistant Federal Public Defender Joanne M. Daley hereby enters her

appearance on behalf of the defendant, Matthew Farwell, in the above-entitled matter.


                                                Respectfully submitted,
                                                MATTHEW FARWELL,
                                                By his attorney,

                                                /s/ Joanne M. Daley
                                                Joanne M. Daley
                                                BBO #653375
                                                Assistant Federal Defender
                                                10 Weybosset St., Ste. 300
                                                Providence, RI 02903
                                                (401) 528-4281/FAX 528-4285
                                                joanne_daley@fd.org


                                  CERTIFICATION

I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) on June 23, 2025.

                                                /s/ Joanne M. Daley
                                                Joanne M. Daley
Case 1:24-cr-10259-DJC   Document 41   Filed 06/23/25   Page 2 of 2
